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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                               Case No. 1:21-CR-148

v.                                                      Hon. Janet T. Neff

DENNIS PATRICK REID,

               Defendant.
                               /

                            REPORT AND RECOMMENDATION

               Pursuant to W.D. Mich. LCrR 11.1 and upon a request of the district court, I

conducted a felony plea hearing in this matter on October 13, 2021, after receiving the written

consent of the defendant, the defendant's attorney, and the attorney for the government. These

consents were also placed on the record in open court.

               Defendant Dennis Patrick Reid is charged in Count 1 of a two-count Indictment

with attempted coercion and enticement of a minor to engage in sexual activity. On the basis of

the record made at the hearing, I found that defendant was competent to enter a plea of guilty and

that the plea was knowledgeable and voluntary with a full understanding of each of the rights

waived by the defendant, that the defendant fully understood the nature of the charge and the

consequences of the plea, and that the defendant's plea had a sufficient basis in fact which

contained all of the elements of the offense charged.

               I inquired into the plea agreement. I found the plea agreement to have been

knowingly and voluntarily made and found that it fully reflected all of the promises made by the


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parties.

                Accordingly, I accepted the plea of guilty, subject to final acceptance of the plea

by the District Judge, and I specifically reserved acceptance of the plea agreement for the District

Judge. I ordered the preparation of a presentence investigation report.

                                        Recommendation

               Based upon the foregoing, I respectfully recommend that the defendant's plea of

guilty to Count 1 of the Indictment be accepted, that the Court adjudicate the defendant guilty of

that charge, and that the written plea agreement be accepted at, or before, the time of sentencing.



Dated: October 13, 2021                               /s/ Ray Kent
                                                      RAY KENT
                                                      United States Magistrate Judge


                                     NOTICE TO PARTIES

               You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen (l4) days after the plea
hearing. See W.D. Mich. LCrR 11.1(b). A failure to file timely objections may result in the
waiver of any further right to seek appellate review of the plea-taking procedure. See Thomas v.
Arn, 474 U.S. 140 (1985); Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522
U.S. 1030 (1997); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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